Case 2:19-cr-00074-D-BR Document 21 Filed 07/25/19 Page1of3 PagelD 42

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

UNITED STATES OF AMERICA

v. No. 2:19-CR-074-D
ASSMIR CONTRERAS-MARTINEZ US, TD ISTRICT COURT —
‘eet OF TEXAS
SUPERSEDING INDICTMEN

 

The Grand Jury Charges:

Count One

 

Distribute 400 Grams or More of Fentany
(Violation of 21 U.S.C. § 846)

Beginning on or about a date unknown to the grand jury and continuing until on or
about May 11, 2019, in the Amarillo Division of the Northern District of Texas, and
elsewhere, Assmir Contreras-Martinez, defendant, did knowingly and intentionally
combine, conspire, confederate, and agree with persons known and unknown to the grand
jury to commit an offense against the United States, that is, to knowingly and
intentionally distribute and possess with intent to distribute 400 grams and more of a
mixture and substance containing a detectable amount of fentanyl], a Schedule I
controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A)(vi).

All in violation of Title 21, United States Code, Section 846.

Assmir Contreras-Martinez
Indictment - Page 1

 
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Count Two
Possession with Intent to Distribute

400 Grams or More of Fentanyl
(Violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(vi))

On or about May 11, 2019, in the Amarillo Division of the Northern District of
Texas, and elsewhere, Assmir Contreras-Martinez, defendant, did knowingly and
intentionally possess with intent to distribute 400 grams and more of a mixture and
substance containing a detectable amount of fentanyl, a Schedule IT controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A)(vi); Title 18, United States Code, Section 2; and Pinkerton v. United States,

328 U.S. 640 (1946).

A TRUE BILL:
FOREVERSON
ERIN NEALY COX
UNITED STATES ATTORNEY

ANNA MARIE BELL
Assistant United Stateg Attorney
New Mexico State Bar No. 12501

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Amarillo, Texas 79101-2446

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Assmir Contreras-Martinez
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

 

THE UNITED STATES OF AMERICA
Vv.

ASSMIR CONTRERAS-MARTINEZ (01)

 

INDICTMENT

COUNT 1: CONSPIRACY TO DISTRIBUTE AND POSSESS WITH
INTENT TO DISTRIBUTE 400 GRAMS OR MORE OF
FENTANYL
Title 21, United States Code, Section 846.

COUNT 2: POSSESSION WITH INTENT TO DISTRIBUTE 400
GRAMS OR MORE OF FENTANYL
Title 21, United States Code, Sections 841(a)(1) and

 

 

 

 

841(b)(1)(A)(vi).
(2 COUNTS)
A true bill rendered: oo.
Amarillo Boost, 2 TL i Foreperson
“Lh fh.
Filed in open court this t day of Ci { My A.D. 2019.
Joo
Clerk
DEFENDANT IN CUSTODY

(Complaint filed 5/13/19 — 2:19-MJ-91) _

“ibe Ga Rem

UNITED STATES MAGISTRATE JUDGE

 
